Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 1 of 88




                        Exhibit 20
              Case 1:20-cv-03384-VEC-KHP             Document 192-20          Filed 10/13/22           Page 2 of 88



FOR INQUIRIES CALL:   SUTTON                                                                       ACCOUNT TYPE
                      (212) 888-9660
                                                                                                     IOLA NOW
                                                     00   0 00537M NM 017
                                                                                ACCOUNT NUMBER                 STATEMENT PERIOD
                      000000                                                          9871733441                02/04/19 - 02/28/19
                                                             P
                                                                             BEGINNING BALANCE                                $0.00
                      AARON ETRA, ESQ, ATTY.
                                                                             DEPOSITS & CREDITS                            2,600.00
                      IOLA ATTORNEY TRUST
                                                                             LESS CHECKS & DEBITS                              0.25
                      445 PARK AVE
                                                                             INTEREST                                           0.25
                      9TH FL
                                                                             LESS SERVICE CHARGES                               0.00
                      NEW YORK NY 10022
                                                                             ENDING BALANCE                               $2,600.00




                                                                                            ANNUAL INTEREST RATE
                                                                              02/04/2019      - 02/20/2019                 0.00%
                                                                              02/21/2019      - 02/28/2019                 0.50%

INTEREST PAID YEAR TO DATE                     $0.25

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER        WITHDRAWALS &                DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)          OTHER DEBITS (-)            BALANCE
 02/04/2019   BEGINNING BALANCE                                                                                                $0.00
 02/21/2019   INCOMING CHIPS FUNDS TRANSFER                                 $2,600.00
              AARON ETRA                                                                                                    2,600.00
 02/28/2019   INTEREST PAYMENT                                                   0.25
 02/28/2019   INTEREST TRANSFER OUT                                                                    $0.25                2,600.00
              NUMBER OF DEPOSITS/CHECKS PAID                                      1                       0




                                                                                                                          PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 3 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20           Filed 10/13/22           Page 4 of 88



FOR INQUIRIES CALL:   SUTTON                                                                        ACCOUNT TYPE
                      (212) 888-9660
                                                                                                      IOLA NOW
                                                     00   0 00537M NM 017
                                                                                 ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                           9871733441                 03/01/19 - 03/31/19
                                                             P
                                                                              BEGINNING BALANCE                             $2,600.00
                      AARON ETRA, ESQ, ATTY.
                                                                              DEPOSITS & CREDITS                            55,000.00
                      IOLA ATTORNEY TRUST
                                                                              LESS CHECKS & DEBITS                          49,010.06
                      445 PARK AVE
                                                                              INTEREST                                          10.06
                      9TH FL
                                                                              LESS SERVICE CHARGES                               0.00
                      NEW YORK NY 10022
                                                                              ENDING BALANCE                                $8,600.00




                                                                                              ANNUAL INTEREST RATE
                                                                                02/28/2019      - 03/13/2019                 0.50%
                                                                                03/14/2019      - 03/31/2019                 1.50%

INTEREST PAID YEAR TO DATE                      $10.31

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER          WITHDRAWALS &                DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)            OTHER DEBITS (-)            BALANCE
 03/01/2019   BEGINNING BALANCE                                                                                              $2,600.00
 03/18/2019   INCOMING FEDWIRE FUNDS TRANSFER                               $50,000.00
              HAROLD WRIGHT PEAVY                                                                                            52,600.00
 03/20/2019   INCOMING FEDWIRE FUNDS TRANSFER                                 5,000.00
              AARON ETRA, ESQ, ATTY.-IOLA ATTORNE
 03/20/2019   OUTGOING CHIPS FUNDS TRANSFER                                                         $25,000.00
              DORAX INVESTMENT COMPANY LIMITED
 03/20/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                         5,000.00
              THOMPSON AFFINITY LLC
 03/20/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                         5,000.00
              SARAH N SAFFREED                                                                                               22,600.00
 03/22/2019   OUTGOING CHIPS FUNDS TRANSFER                                                           1,000.00
              KORALJKA GALL TROSELJ
 03/22/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                         1,000.00
              MITZ & GOLD LLP
 03/22/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                         5,000.00
              BRENDA J CURTIS
 03/22/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                         5,000.00
              SARAH N SAFFREED                                                                                               10,600.00
 03/29/2019   INTEREST PAYMENT                                                  10.06
 03/29/2019   OUTGOING CHIPS FUNDS TRANSFER                                                           1,000.00
              KORALJKA GALL TROSELJ
 03/29/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                         1,000.00
              SARAH N SAFFREED
 03/29/2019   INTEREST TRANSFER OUT                                                                     10.06                 8,600.00
              NUMBER OF DEPOSITS/CHECKS PAID                                       2                       0




                                                                                                                            PAGE 1 OF 3
                                        MANUFACTURERS AND TRADERS TRUST COMPANY
                                         350 PARK AVENUE NEW YORK, NEW YORK 10022
            Case 1:20-cv-03384-VEC-KHP             Document 192-20       Filed 10/13/22        Page 5 of 88



FOR INQUIRIES CALL:   SUTTON                                                               ACCOUNT TYPE
                      (212) 888-9660
                                                                                             IOLA NOW

                                                                           ACCOUNT NUMBER          STATEMENT PERIOD
                                                                              9871733441                03/01/19 - 03/31/19


                      AARON ETRA, ESQ, ATTY.
                      IOLA ATTORNEY TRUST




              BEGINNING APRIL 2019, M&T BANK WILL ACCEPT REAL-TIME PAYMENT CREDITS TO DEMAND
              DEPOSIT ACCOUNTS. REAL-TIME PAYMENTS (RTP) IS A NEW U.S. PAYMENT METHOD THAT
              ALLOWS CONSUMERS AND BUSINESSES TO RECEIVE AND SEND IMMEDIATE PAYMENTS 24/7/365
              DIRECTLY FROM THEIR BANK ACCOUNTS. OVER TIME, YOU MAY NOTICE PAYMENTS CREDITED
              TO YOUR ACCOUNT IDENTIFIED AS "RTP" OR "REAL-TIME". FOR MORE INFORMATION VISIT
              MTB.COM/RTP.




                                                                                                                  PAGE 2 OF 3
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 6 of 88
              Case 1:20-cv-03384-VEC-KHP                 Document 192-20          Filed 10/13/22            Page 7 of 88



FOR INQUIRIES CALL:     SUTTON                                                                         ACCOUNT TYPE
                        (212) 888-9660
                                                                                                         IOLA NOW
                                                         00   0 00537M NM 017
                                                                                    ACCOUNT NUMBER                  STATEMENT PERIOD
                       000000                                                             9871733441                 04/01/19 - 04/30/19
                                                                 P
                                                                                 BEGINNING BALANCE                             $8,600.00
                       AARON ETRA, ESQ, ATTY.
                                                                                 DEPOSITS & CREDITS                            18,881.96
                       IOLA ATTORNEY TRUST
                                                                                 LESS CHECKS & DEBITS                          25,982.33
                       445 PARK AVE
                                                                                 INTEREST                                            3.89
                       9TH FL
                                                                                 LESS SERVICE CHARGES                                0.00
                       NEW YORK NY 10022
                                                                                 ENDING BALANCE                                $1,503.52




                                                                                                ANNUAL INTEREST RATE
                                                                                  03/31/2019       -    04/30/2019              1.50%

INTEREST PAID YEAR TO DATE                          $14.20

                                                         ACCOUNT ACTIVITY
 POSTING                                                               DEPOSITS & OTHER        WITHDRAWALS &                 DAILY
                             TRANSACTION DESCRIPTION
  DATE                                                                    CREDITS (+)          OTHER DEBITS (-)             BALANCE
 04/01/2019   BEGINNING BALANCE                                                                                                 $8,600.00
 04/01/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                           $4,000.00
              SARAH N SASSREED                                                                                                   4,600.00
 04/03/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                            3,978.44
              SEAVER WANG                                                                                                          621.56
 04/12/2019   INCOMING CHIPS FUNDS TRANSFER                                     $3,843.96
              1/DORAX INVESTMENT COMPANY LIMITED                                                                                 4,465.52
 04/15/2019   INCOMING FEDWIRE FUNDS TRANSFER                                   15,000.00
              JANEEN S CARD                                                                                                     19,465.52
 04/17/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                            6,500.00
              SARAH N SAFFREED
 04/17/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                            6,500.00
              JARSON D WITCHETT                                                                                                  6,465.52
 04/18/2019   WEB XFER TO CHK 00009871733433                                                             2,000.00                4,465.52
 04/22/2019   2019-04-22 Monthly Service Fee Reversal                              38.00
 04/22/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                            3,000.00
              SARAH N SASSREED                                                                                                   1,503.52
 04/30/2019   INTEREST PAYMENT                                                       3.89
 04/30/2019   INTEREST TRANSFER OUT                                                                          3.89                1,503.52
              NUMBER OF DEPOSITS/CHECKS PAID                                          3                        0


               BEGINNING APRIL 2019, M&T BANK WILL ACCEPT REAL-TIME PAYMENT CREDITS TO DEMAND
               DEPOSIT ACCOUNTS. REAL-TIME PAYMENTS (RTP) IS A NEW U.S. PAYMENT METHOD THAT
               ALLOWS CONSUMERS AND BUSINESSES TO RECEIVE AND SEND IMMEDIATE PAYMENTS 24/7/365
               DIRECTLY FROM THEIR BANK ACCOUNTS. OVER TIME, YOU MAY NOTICE PAYMENTS CREDITED
               TO YOUR ACCOUNT IDENTIFIED AS "RTP" OR "REAL-TIME". FOR MORE INFORMATION VISIT
               MTB.COM/RTP.




                                                                                                                               PAGE 1 OF 2
                                           MANUFACTURERS AND TRADERS TRUST COMPANY
                                            350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 8 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22            Page 9 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                        9871733441                 05/01/19 - 05/31/19
                                                             P
                                                                            BEGINNING BALANCE                            $1,503.52
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                                 0.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                               1.72
                      445 PARK AVE
                                                                            INTEREST                                           1.72
                      9TH FL
                                                                            LESS SERVICE CHARGES                               0.00
                      NEW YORK NY 10022
                                                                            ENDING BALANCE                               $1,503.52




                                                                                          ANNUAL INTEREST RATE
                                                                            04/30/2019       -    05/31/2019              1.50%

INTEREST PAID YEAR TO DATE                     $15.92

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER      WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)        OTHER DEBITS (-)             BALANCE
 05/01/2019   BEGINNING BALANCE                                                                                           $1,503.52
 05/31/2019   INTEREST PAYMENT                                               $1.72
 05/31/2019   INTEREST TRANSFER OUT                                                                   $1.72                1,503.52
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                        0


               BEGINNING APRIL 2019, M&T BANK WILL ACCEPT REAL-TIME PAYMENT CREDITS TO DEMAND
               DEPOSIT ACCOUNTS. REAL-TIME PAYMENTS (RTP) IS A NEW U.S. PAYMENT METHOD THAT
               ALLOWS CONSUMERS AND BUSINESSES TO RECEIVE AND SEND IMMEDIATE PAYMENTS 24/7/365
               DIRECTLY FROM THEIR BANK ACCOUNTS. OVER TIME, YOU MAY NOTICE PAYMENTS CREDITED
               TO YOUR ACCOUNT IDENTIFIED AS "RTP" OR "REAL-TIME". FOR MORE INFORMATION VISIT
               MTB.COM/RTP.




                                                                                                                         PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 10 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20          Filed 10/13/22             Page 11 of 88



FOR INQUIRIES CALL:   SUTTON                                                                         ACCOUNT TYPE
                      (212) 888-9660
                                                                                                       IOLA NOW
                                                     00   0 00537M NM 017
                                                                                 ACCOUNT NUMBER                   STATEMENT PERIOD
                      000000                                                           9871733441                  06/01/19 - 06/30/19
                                                             P
                                                                              BEGINNING BALANCE                              $1,503.52
                      AARON ETRA, ESQ, ATTY.
                                                                              DEPOSITS & CREDITS                            462,000.00
                      IOLA ATTORNEY TRUST
                                                                              LESS CHECKS & DEBITS                          462,001.93
                      445 PARK AVE
                                                                              INTEREST                                             1.93
                      9TH FL
                                                                              LESS SERVICE CHARGES                                 0.00
                      NEW YORK NY 10022
                                                                              ENDING BALANCE                                 $1,503.52




                                                                                              ANNUAL INTEREST RATE
                                                                                05/31/2019       -    06/30/2019              1.50%

INTEREST PAID YEAR TO DATE                      $17.85

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER          WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)            OTHER DEBITS (-)             BALANCE
 06/01/2019   BEGINNING BALANCE                                                                                               $1,503.52
 06/11/2019   INCOMING FEDWIRE FUNDS TRANSFER                                $3,500.00
              JOHN R WATKINS
 06/11/2019   INCOMING CHIPS FUNDS TRANSFER                                   3,500.00
              PEAVY AND COMPANY INC                                                                                            8,503.52
 06/12/2019   WEB XFER TO CHK 00009871733433                                                            $500.00
 06/12/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                          6,500.00
              SARAH N SAFFREED                                                                                                 1,503.52
 06/21/2019   WEB XFER FROM CHK 00009871733433                              455,000.00
 06/21/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                        455,000.00
              THORGOOD LAW FIRM IOLTA                                                                                          1,503.52
 06/28/2019   INTEREST PAYMENT                                                    1.93
 06/28/2019   INTEREST TRANSFER OUT                                                                        1.93                1,503.52
              NUMBER OF DEPOSITS/CHECKS PAID                                       3                         0




                                                                                                                             PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 12 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20          Filed 10/13/22             Page 13 of 88



FOR INQUIRIES CALL:   SUTTON                                                                         ACCOUNT TYPE
                      (212) 888-9660
                                                                                                       IOLA NOW
                                                     00   0 00537M NM 017
                                                                                 ACCOUNT NUMBER                   STATEMENT PERIOD
                      000000                                                           9871733441                  07/01/19 - 07/31/19
                                                             P
                                                                              BEGINNING BALANCE                              $1,503.52
                      AARON ETRA, ESQ, ATTY.
                                                                              DEPOSITS & CREDITS                             35,000.00
                      IOLA ATTORNEY TRUST
                                                                              LESS CHECKS & DEBITS                           21,307.82
                      445 PARK AVE
                                                                              INTEREST                                             7.82
                      9TH FL
                                                                              LESS SERVICE CHARGES                                 0.00
                      NEW YORK NY 10022
                                                                              ENDING BALANCE                                $15,203.52




                                                                                              ANNUAL INTEREST RATE
                                                                                06/30/2019       -    07/31/2019              1.50%

INTEREST PAID YEAR TO DATE                      $25.67

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER          WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)            OTHER DEBITS (-)             BALANCE
 07/01/2019   BEGINNING BALANCE                                                                                               $1,503.52
 07/11/2019   INCOMING FEDWIRE FUNDS TRANSFER                               $10,000.00
              VALARIE BAPTISTE IRRV PRIVATE TRUST                                                                             11,503.52
 07/12/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                         $5,200.00
              SARAH N SAFFREED                                                                                                 6,303.52
 07/26/2019   INCOMING FEDWIRE FUNDS TRANSFER                                15,000.00
              VALARIE BAPTISTE IRRV PRIVATE TRUST
 07/26/2019   INCOMING CHIPS FUNDS TRANSFER                                  10,000.00
              AARON ETRA, ESQ, ATTY.-IOLA ATTORNE
 07/26/2019   WEB XFER TO CHK 00009876132433                                                           1,000.00
 07/26/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                          4,000.00
              SARAH N SAFFREED
 07/26/2019   OUTGOING CHIPS FUNDS TRANSFER                                                           10,000.00
              DORAX INVESTMENT COMPANY LIMITED                                                                                16,303.52
 07/31/2019   INTEREST PAYMENT                                                    7.82
 07/31/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                          1,100.00
              SARAH N SAFFEED
 07/31/2019   INTEREST TRANSFER OUT                                                                        7.82               15,203.52
              NUMBER OF DEPOSITS/CHECKS PAID                                       3                         0




                                                                                                                             PAGE 1 OF 2
                                        MANUFACTURERS AND TRADERS TRUST COMPANY
                                         350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 14 of 88
              Case 1:20-cv-03384-VEC-KHP              Document 192-20           Filed 10/13/22           Page 15 of 88



FOR INQUIRIES CALL:   SUTTON                                                                         ACCOUNT TYPE
                      (212) 888-9660
                                                                                                       IOLA NOW
                                                      00      0 00537M NM 017
                                                                                  ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                            9871733441                 08/01/19 - 08/31/19
                                                                 P
                                                                                BEGINNING BALANCE                           $15,203.52
                      AARON ETRA, ESQ, ATTY.
                                                                                DEPOSITS & CREDITS                          200,000.00
                      IOLA ATTORNEY TRUST
                                                                                LESS CHECKS & DEBITS                        212,386.52
                      445 PARK AVE
                                                                                INTEREST                                         30.72
                      9TH FL
                                                                                LESS SERVICE CHARGES                              0.00
                      NEW YORK NY 10022
                                                                                ENDING BALANCE                               $2,847.72




                                                                                               ANNUAL INTEREST RATE
                                                                                 07/31/2019      - 08/07/2019                 1.50%
                                                                                 08/08/2019      - 08/31/2019                 1.35%

INTEREST PAID YEAR TO DATE                       $56.39

                                                      ACCOUNT ACTIVITY
 POSTING                                                               DEPOSITS & OTHER       WITHDRAWALS &                DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                    CREDITS (+)         OTHER DEBITS (-)            BALANCE
 08/01/2019   BEGINNING BALANCE                                                                                              $15,203.52
 08/01/2019   BOOK TRANSFER DEBIT                                                                     $4,200.00
              TRANSFER: FROM 9871733441 TO 3070901999900
 08/01/2019   BOOK TRANSFER DEBIT                                                                        30.00
              TRANSFER: FROM 9871733441 TO 3070303498301                                                                      10,973.52
 08/07/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                          7,000.00
              SARAH N SAFFREED                                                                                                 3,973.52
 08/09/2019   INCOMING CHIPS FUNDS TRANSFER                                 $200,000.00
              RAZUR 7711 LLC                                                                                                 203,973.52
 08/12/2019   WEB XFER TO CHK 00009871733433                                                           5,000.00
 08/12/2019   BOOK TRANSFER DEBIT                                                                    150,000.00
              TRANSFER: FROM 9871733441 TO 3070901999900
 08/12/2019   BOOK TRANSFER DEBIT                                                                        30.00
              TRANSFER: FROM 9871733441 TO 3070303498301
 08/12/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                         20,000.00
              SARAH N SAFFREED                                                                                                28,943.52
 08/16/2019   OUTGOING CHIPS FUNDS TRANSFER                                                           16,800.00
              QINGDAO ZHIQIANG INDUSTRIAL LIMITED                                                                             12,143.52
 08/19/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                          4,850.00
              SARAH N SAFFREED                                                                                                 7,293.52
 08/28/2019   OUTGOING FEDWIRE FUNDS TRANSFER                                                          3,850.00
              SARA N SAFFREED
 08/28/2019   BOOK TRANSFER DEBIT                                                                       565.80
              TRANSFER: FROM 9871733441    TO 3070901999900
 08/28/2019   BOOK TRANSFER DEBIT                                                                        30.00
              TRANSFER: FROM 9871733441    TO 3070303498301                                                                    2,847.72
 08/30/2019   INTEREST PAYMENT                                                    30.72
 08/30/2019   INTEREST TRANSFER OUT                                                                      30.72                 2,847.72
              NUMBER OF DEPOSITS/CHECKS PAID                                        1                       0




                                                                                                                             PAGE 1 OF 2
                                          MANUFACTURERS AND TRADERS TRUST COMPANY
                                           350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 16 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22          Page 17 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                 STATEMENT PERIOD
                      000000                                                        9871733441                09/01/19 - 09/30/19
                                                             P
                                                                            BEGINNING BALANCE                           $2,847.72
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                                0.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                              2.79
                      445 PARK AVE
                                                                            INTEREST                                          2.79
                      9TH FL
                                                                            LESS SERVICE CHARGES                              0.00
                      NEW YORK NY 10022
                                                                            ENDING BALANCE                              $2,847.72




                                                                                          ANNUAL INTEREST RATE
                                                                            08/31/2019      - 09/25/2019                 1.35%
                                                                            09/26/2019      - 09/30/2019                 1.20%

INTEREST PAID YEAR TO DATE                     $59.18

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER      WITHDRAWALS &                DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)        OTHER DEBITS (-)            BALANCE
 09/01/2019   BEGINNING BALANCE                                                                                          $2,847.72
 09/30/2019   INTEREST PAYMENT                                               $2.79
 09/30/2019   INTEREST TRANSFER OUT                                                                  $2.79                2,847.72
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                       0




                                                                                                                        PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 18 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22           Page 19 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                        9871733441                 10/01/19 - 10/31/19
                                                             P
                                                                            BEGINNING BALANCE                            $2,847.72
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                                 0.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                               2.61
                      445 PARK AVE
                                                                            INTEREST                                           2.61
                      9TH FL
                                                                            LESS SERVICE CHARGES                               0.00
                      NEW YORK NY 10022
                                                                            ENDING BALANCE                               $2,847.72




                                                                                          ANNUAL INTEREST RATE
                                                                            09/30/2019       -    10/31/2019              1.20%

INTEREST PAID YEAR TO DATE                     $61.79

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER      WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)        OTHER DEBITS (-)             BALANCE
 10/01/2019   BEGINNING BALANCE                                                                                           $2,847.72
 10/31/2019   INTEREST PAYMENT                                               $2.61
 10/31/2019   INTEREST TRANSFER OUT                                                                   $2.61                2,847.72
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                        0




                                                                                                                         PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 20 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22          Page 21 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                 STATEMENT PERIOD
                      000000                                                        9871733441                11/01/19 - 11/30/19
                                                             P
                                                                            BEGINNING BALANCE                           $2,847.72
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                                0.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                              2.27
                      445 PARK AVE
                                                                            INTEREST                                          2.27
                      9TH FL
                                                                            LESS SERVICE CHARGES                              0.00
                      NEW YORK NY 10022
                                                                            ENDING BALANCE                              $2,847.72




                                                                                           ANNUAL INTEREST RATE
                                                                             10/31/2019      - 11/06/2019                1.20%
                                                                             11/07/2019      - 11/30/2019                1.05%

INTEREST PAID YEAR TO DATE                     $64.06

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER       WITHDRAWALS &               DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)         OTHER DEBITS (-)           BALANCE
 11/01/2019   BEGINNING BALANCE                                                                                          $2,847.72
 11/29/2019   INTEREST PAYMENT                                                $2.27
 11/29/2019   INTEREST TRANSFER OUT                                                                  $2.27                2,847.72
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                       0


               GO PAPERLESS! RECEIVE YOUR STATEMENTS AND NOTICES ONLINE.
               EFFECTIVE 1/1/20, A PAPER STATEMENT FEE OF $2.00 PER MONTH WILL TAKE EFFECT.
               AVOID THIS FEE AND STREAMLINE YOUR BUSINESS BY SIGNING UP FOR E-STATEMENTS.
               INCREASE YOUR BUSINESS' SECURITY AND REDUCE CLUTTER!
               *EASY RECORD KEEPING: ACCESS UP TO SEVEN YEARS OF STATEMENTS.
               *INCREASED SECURITY: LIMIT MAIL DELIVERY OF SENSITIVE DOCS.
               LEARN HOW TO ENROLL FOR THIS FREE SERVICE AT MTB.COM/ESTATEMENTS
               OR CONTACT OUR CUSTOMER SERVICE TEAM AT 1-800-724-6070.




                                                                                                                        PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 22 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20         Filed 10/13/22            Page 23 of 88



FOR INQUIRIES CALL:   SUTTON                                                                       ACCOUNT TYPE
                      (212) 888-9660
                                                                                                     IOLA NOW
                                                     00   0 00537M NM 017
                                                                               ACCOUNT NUMBER                   STATEMENT PERIOD
                      000000                                                         9871733441                  12/01/19 - 12/31/19
                                                               P
                                                                             BEGINNING BALANCE                             $2,847.72
                      AARON ETRA, ESQ, ATTY.
                                                                             DEPOSITS & CREDITS                                  0.00
                      IOLA ATTORNEY TRUST
                                                                             LESS CHECKS & DEBITS                                2.29
                      445 PARK AVE
                                                                             INTEREST                                            2.29
                      9TH FL
                                                                             LESS SERVICE CHARGES                                0.00
                      NEW YORK NY 10022
                                                                             ENDING BALANCE                                $2,847.72




                                                                                            ANNUAL INTEREST RATE
                                                                              11/30/2019       -    12/31/2019              1.05%

INTEREST PAID YEAR TO DATE                     $66.35

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER        WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)          OTHER DEBITS (-)             BALANCE
 12/01/2019   BEGINNING BALANCE                                                                                             $2,847.72
 12/31/2019   INTEREST PAYMENT                                                 $2.29
 12/31/2019   INTEREST TRANSFER OUT                                                                     $2.29                2,847.72
              NUMBER OF DEPOSITS/CHECKS PAID                                     0                         0


               * ACCOUNT CHANGES EFFECTIVE JANUARY 1, 2020 *

               A $2.00 PER MONTH PAPER STATEMENT FEE MAY APPLY TO YOUR ACCOUNT BEGINNING
               JANUARY 1, 2020. AVOID THIS FEE AND STREAMLINE YOUR BUSINESS BY SIGNING UP FOR
               E-STATEMENTS.

               LEARN HOW TO ENROLL FOR THIS FREE SERVICE AT MTB.COM/ESTATEMENTS OR CONTACT OUR
               CUSTOMER SERVICE TEAM AT 1-800-724-6070.




                                                                                                                           PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 24 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22           Page 25 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                        9871733441                 01/01/20 - 01/31/20
                                                             P
                                                                            BEGINNING BALANCE                            $2,847.72
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                                0.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                          2,000.94
                      445 PARK AVE
                                                                            INTEREST                                           0.94
                      9TH FL
                                                                            LESS SERVICE CHARGES                               0.00
                      NEW YORK NY 10022
                                                                            ENDING BALANCE                                 $847.72




                                                                                          ANNUAL INTEREST RATE
                                                                            12/31/2019       -    01/31/2020              1.05%

INTEREST PAID YEAR TO DATE                     $0.94

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER      WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)        OTHER DEBITS (-)             BALANCE
 01/01/2020   BEGINNING BALANCE                                                                                           $2,847.72
 01/06/2020   WEB XFER TO CHK 00009871733433                                                      $2,000.00                  847.72
 01/31/2020   INTEREST PAYMENT                                               $0.94
 01/31/2020   INTEREST TRANSFER OUT                                                                    0.94                  847.72
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                        0




                                                                                                                         PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 26 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22           Page 27 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                        9871733441                 02/01/20 - 02/29/20
                                                             P
                                                                            BEGINNING BALANCE                              $847.72
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                                 0.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                               0.64
                      445 PARK AVE
                                                                            INTEREST                                           0.64
                      9TH FL
                                                                            LESS SERVICE CHARGES                               0.00
                      NEW YORK NY 10022
                                                                            ENDING BALANCE                                 $847.72




                                                                                          ANNUAL INTEREST RATE
                                                                            01/31/2020       -    02/29/2020              1.05%

INTEREST PAID YEAR TO DATE                     $1.58

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER      WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)        OTHER DEBITS (-)             BALANCE
 02/01/2020   BEGINNING BALANCE                                                                                             $847.72
 02/28/2020   INTEREST PAYMENT                                               $0.64
 02/28/2020   INTEREST TRANSFER OUT                                                                   $0.64                  847.72
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                        0


               EFFECTIVE APRIL 1, 2020, THE COMMERCIAL DEPOSIT ACCOUNT AGREEMENT IS AMENDED TO
               ADD A SECTION REGARDING NEW REGULATION FROM THE FDIC. PLEASE VIEW THAT NEW
               SECTION OF THE AGREEMENT AT MTB.COM/FDIC370. IF YOUR ACCOUNT IS HELD ON BEHALF
               OF OTHERS, YOU MAY BE OBLIGATED TO PROVIDE A RECORD OF THE INTERESTS OF THE
               BENEFICIAL OWNERS IN ORDER TO AVOID DELAYS IN RECEIVING FUNDS IN THE EVENT OF
               FDIC INSURANCE CLAIMS. YOU HAVE AN OPPORTUNITY TO TEST YOUR CAPABILITY TO
               DELIVER THAT REQUIRED INFORMATION IN THE APPROPRIATE FORMAT. ANY QUESTIONS CAN
               BE DIRECTED TO YOUR ACCOUNT OFFICER.




                                                                                                                         PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 28 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22          Page 29 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                 STATEMENT PERIOD
                      000000                                                        9871733441                03/01/20 - 03/31/20
                                                             P
                                                                            BEGINNING BALANCE                             $847.72
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                                0.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                              0.65
                      445 PARK AVE
                                                                            INTEREST                                          0.65
                      9TH FL
                                                                            LESS SERVICE CHARGES                              0.00
                      NEW YORK NY 10022
                                                                            ENDING BALANCE                                $847.72




                                                                                          ANNUAL INTEREST RATE
                                                                            02/29/2020      - 03/04/2020                 1.05%
                                                                            03/05/2020      - 03/31/2020                 1.00%

INTEREST PAID YEAR TO DATE                     $2.23

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER      WITHDRAWALS &                DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)        OTHER DEBITS (-)            BALANCE
 03/01/2020   BEGINNING BALANCE                                                                                            $847.72
 03/31/2020   INTEREST PAYMENT                                               $0.65
 03/31/2020   INTEREST TRANSFER OUT                                                                  $0.65                  847.72
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                       0


               EFFECTIVE APRIL 1, 2020, THE COMMERCIAL DEPOSIT ACCOUNT AGREEMENT IS AMENDED TO
               ADD A SECTION REGARDING NEW REGULATION FROM THE FDIC. PLEASE VIEW THAT NEW
               SECTION OF THE AGREEMENT AT MTB.COM/FDIC370. IF YOUR ACCOUNT IS HELD ON BEHALF
               OF OTHERS, YOU MAY BE OBLIGATED TO PROVIDE A RECORD OF THE INTERESTS OF THE
               BENEFICIAL OWNERS IN ORDER TO AVOID DELAYS IN RECEIVING FUNDS IN THE EVENT OF
               FDIC INSURANCE CLAIMS. YOU HAVE AN OPPORTUNITY TO TEST YOUR CAPABILITY TO
               DELIVER THAT REQUIRED INFORMATION IN THE APPROPRIATE FORMAT. ANY QUESTIONS CAN
               BE DIRECTED TO YOUR ACCOUNT OFFICER.




                                                                                                                        PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 30 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22          Page 31 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                 STATEMENT PERIOD
                      000000                                                        9871733441                04/01/20 - 04/30/20
                                                             P
                                                                            BEGINNING BALANCE                             $847.72
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                                0.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                              0.61
                      445 PARK AVE
                                                                            INTEREST                                          0.61
                      9TH FL
                                                                            LESS SERVICE CHARGES                              0.00
                      NEW YORK NY 10022
                                                                            ENDING BALANCE                                $847.72




                                                                                          ANNUAL INTEREST RATE
                                                                            03/31/2020      - 04/29/2020                 1.00%
                                                                            04/30/2020      - 04/30/2020                 0.35%

INTEREST PAID YEAR TO DATE                     $2.84

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER      WITHDRAWALS &                DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)        OTHER DEBITS (-)            BALANCE
 04/01/2020   BEGINNING BALANCE                                                                                            $847.72
 04/30/2020   INTEREST PAYMENT                                               $0.61
 04/30/2020   INTEREST TRANSFER OUT                                                                  $0.61                  847.72
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                       0




                                                                                                                        PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 32 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22           Page 33 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                        9871733441                 05/01/20 - 05/31/20
                                                             P
                                                                            BEGINNING BALANCE                              $847.72
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                                 0.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                               0.23
                      445 PARK AVE
                                                                            INTEREST                                           0.23
                      9TH FL
                                                                            LESS SERVICE CHARGES                               0.00
                      NEW YORK NY 10022
                                                                            ENDING BALANCE                                 $847.72




                                                                                          ANNUAL INTEREST RATE
                                                                            04/30/2020       -    05/31/2020              0.35%

INTEREST PAID YEAR TO DATE                     $3.07

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER      WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)        OTHER DEBITS (-)             BALANCE
 05/01/2020   BEGINNING BALANCE                                                                                             $847.72
 05/29/2020   INTEREST PAYMENT                                               $0.23
 05/29/2020   INTEREST TRANSFER OUT                                                                   $0.23                  847.72
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                        0




                                                                                                                         PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 34 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20         Filed 10/13/22            Page 35 of 88



FOR INQUIRIES CALL:   SUTTON                                                                       ACCOUNT TYPE
                      (212) 888-9660
                                                                                                     IOLA NOW
                                                     00   0 00537M NM 017
                                                                                ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                          9871733441                 06/01/20 - 06/30/20
                                                             P
                                                                             BEGINNING BALANCE                               $847.72
                      AARON ETRA, ESQ, ATTY.
                                                                             DEPOSITS & CREDITS                             2,700.00
                      IOLA ATTORNEY TRUST
                                                                             LESS CHECKS & DEBITS                           1,200.29
                      445 PARK AVE
                                                                             INTEREST                                            0.29
                      9TH FL
                                                                             LESS SERVICE CHARGES                                0.00
                      NEW YORK NY 10022
                                                                             ENDING BALANCE                                $2,347.72




                                                                                            ANNUAL INTEREST RATE
                                                                              05/31/2020       -    06/30/2020              0.35%

INTEREST PAID YEAR TO DATE                       $3.36

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER        WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)          OTHER DEBITS (-)             BALANCE
 06/01/2020   BEGINNING BALANCE                                                                                               $847.72
 06/22/2020   WEB XFER FROM CHK 00009871733433                              $1,200.00
 06/22/2020   OUTGOING CHIPS FUNDS TRANSFER                                                         $1,200.00                  847.72
 06/26/2020   FISHER ENTERPRIS ACH Pmt 5253911700                            1,500.00                                        2,347.72
 06/30/2020   INTEREST PAYMENT                                                   0.29
 06/30/2020   INTEREST TRANSFER OUT                                                                      0.29                2,347.72
              NUMBER OF DEPOSITS/CHECKS PAID                                      2                        0


               AS OF JULY 1, 2020, FUNDS FROM CHECK DEPOSITS IN EXCESS OF $5,525 (PREVIOUSLY
               $5,000) ON ANY ONE DAY MAY BE DELAYED. PLEASE REFER TO THE AVAILABILITY
               DISCLOSURE FOR COMMERCIAL DEPOSIT ACCOUNTS ("DISCLOSURE"). ALSO, WHEN
               DETERMINING THE AVAILABILITY OF YOUR DEPOSIT MADE TO A BRANCH EMPLOYEE, OUR
               BUSINESS DAY CUTOFF TIME WILL NOW BE THE BRANCH CLOSING TIME ON A BUSINESS DAY
               THAT WE ARE OPEN. MOBILE BANKING CHECK DEPOSITS HAVE A CUTOFF TIME OF 10:00 PM
               ET.




                                                                                                                           PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 36 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20         Filed 10/13/22            Page 37 of 88



FOR INQUIRIES CALL:   SUTTON                                                                       ACCOUNT TYPE
                      (212) 888-9660
                                                                                                     IOLA NOW
                                                     00   0 00537M NM 017
                                                                                ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                          9871733441                 07/01/20 - 07/31/20
                                                             P
                                                                             BEGINNING BALANCE                             $2,347.72
                      AARON ETRA, ESQ, ATTY.
                                                                             DEPOSITS & CREDITS                             8,450.00
                      IOLA ATTORNEY TRUST
                                                                             LESS CHECKS & DEBITS                           8,890.38
                      445 PARK AVE
                                                                             INTEREST                                            0.63
                      9TH FL
                                                                             LESS SERVICE CHARGES                                0.00
                      NEW YORK NY 10022
                                                                             ENDING BALANCE                                $1,907.97




                                                                                            ANNUAL INTEREST RATE
                                                                              06/30/2020       -    07/31/2020              0.35%

INTEREST PAID YEAR TO DATE                      $3.99

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER        WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)          OTHER DEBITS (-)             BALANCE
 07/01/2020   BEGINNING BALANCE                                                                                             $2,347.72
 07/02/2020   OUTGOING CHIPS FUNDS TRANSFER                                                         $1,200.00                1,147.72
 07/09/2020   FISHER ENTERPRIS ACH Pmt 5255145945                           $2,950.00                                        4,097.72
 07/13/2020   OUTGOING CHIPS FUNDS TRANSFER                                                          2,450.00                1,647.72
 07/15/2020   FISHER ENTERPRIS ACH Pmt 5255713263                            1,500.00                                        3,147.72
 07/17/2020   WEB XFER FROM CHK 00009871733433                               4,000.00
 07/17/2020   OUTGOING FEDWIRE FUNDS TRANSFER                                                        4,039.75
              SEAVER WANG
 07/17/2020   OUTGOING CHIPS FUNDS TRANSFER                                                          1,200.00                1,907.97
 07/31/2020   INTEREST PAYMENT                                                   0.63
 07/31/2020   INTEREST TRANSFER OUT                                                                      0.63                1,907.97
              NUMBER OF DEPOSITS/CHECKS PAID                                      3                        0




                                                                                                                           PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 38 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20         Filed 10/13/22            Page 39 of 88



FOR INQUIRIES CALL:   SUTTON                                                                       ACCOUNT TYPE
                      (212) 888-9660
                                                                                                     IOLA NOW
                                                     00   0 00537M NM 017
                                                                                ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                          9871733441                 06/01/20 - 06/30/20
                                                             P
                                                                             BEGINNING BALANCE                               $847.72
                      AARON ETRA, ESQ, ATTY.
                                                                             DEPOSITS & CREDITS                             2,700.00
                      IOLA ATTORNEY TRUST
                                                                             LESS CHECKS & DEBITS                           1,200.29
                      445 PARK AVE
                                                                             INTEREST                                            0.29
                      9TH FL
                                                                             LESS SERVICE CHARGES                                0.00
                      NEW YORK NY 10022
                                                                             ENDING BALANCE                                $2,347.72




                                                                                            ANNUAL INTEREST RATE
                                                                              05/31/2020       -    06/30/2020              0.35%

INTEREST PAID YEAR TO DATE                       $3.36

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER        WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)          OTHER DEBITS (-)             BALANCE
 06/01/2020   BEGINNING BALANCE                                                                                               $847.72
 06/22/2020   WEB XFER FROM CHK 00009871733433                              $1,200.00
 06/22/2020   OUTGOING CHIPS FUNDS TRANSFER                                                         $1,200.00                  847.72
 06/26/2020   FISHER ENTERPRIS ACH Pmt 5253911700                            1,500.00                                        2,347.72
 06/30/2020   INTEREST PAYMENT                                                   0.29
 06/30/2020   INTEREST TRANSFER OUT                                                                      0.29                2,347.72
              NUMBER OF DEPOSITS/CHECKS PAID                                      2                        0


               AS OF JULY 1, 2020, FUNDS FROM CHECK DEPOSITS IN EXCESS OF $5,525 (PREVIOUSLY
               $5,000) ON ANY ONE DAY MAY BE DELAYED. PLEASE REFER TO THE AVAILABILITY
               DISCLOSURE FOR COMMERCIAL DEPOSIT ACCOUNTS ("DISCLOSURE"). ALSO, WHEN
               DETERMINING THE AVAILABILITY OF YOUR DEPOSIT MADE TO A BRANCH EMPLOYEE, OUR
               BUSINESS DAY CUTOFF TIME WILL NOW BE THE BRANCH CLOSING TIME ON A BUSINESS DAY
               THAT WE ARE OPEN. MOBILE BANKING CHECK DEPOSITS HAVE A CUTOFF TIME OF 10:00 PM
               ET.




                                                                                                                           PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 40 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22           Page 41 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                        9871733441                 08/01/20 - 08/31/20
                                                             P
                                                                            BEGINNING BALANCE                            $1,907.97
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                                 0.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                               0.56
                      445 PARK AVE
                                                                            INTEREST                                           0.56
                      9TH FL
                                                                            LESS SERVICE CHARGES                               0.00
                      NEW YORK NY 10022
                                                                            ENDING BALANCE                               $1,907.97




                                                                                          ANNUAL INTEREST RATE
                                                                            07/31/2020       -    08/31/2020              0.35%

INTEREST PAID YEAR TO DATE                     $4.55

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER      WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)        OTHER DEBITS (-)             BALANCE
 08/01/2020   BEGINNING BALANCE                                                                                           $1,907.97
 08/31/2020   INTEREST PAYMENT                                               $0.56
 08/31/2020   INTEREST TRANSFER OUT                                                                   $0.56                1,907.97
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                        0


               TREASURY MANAGEMENT (TM) CUSTOMERS AS OF 2/10/20 - YOU SHOULD HAVE RECEIVED A
               LETTER DATED 3/9/20 REGARDING CHANGES TO M&T'S TM AGREEMENTS. TO CLARIFY, "TM
               AGREEMENT" IN THE LETTER REFERS TO THE MASTER TREASURY MANAGEMENT SERVICES
               AGREEMENT (MSA). THE MSA HAS BEEN REVISED TO CORRECT THE SUBSECTION LETTERING
               UNDER SECTION 22 SO THE REFERENCE TO SECTION 22(C) IN THE LETTER IS NOW CORRECT.
               THE SUMMARY OF THE CHANGE TO SECTION 3(C) OF THE POSITIVE PAY SERVICE TERMS AND
               CONDITIONS HAS BEEN REVISED IN THE SUMMARY OF CHANGES DOCUMENT (SOC) REFERENCED
               IN THE LETTER. THE REVISED MSA AND SOC HAVE BEEN POSTED TO MTB.COM/TMTERMS.




                                                                                                                         PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 42 of 88
              Case 1:20-cv-03384-VEC-KHP              Document 192-20         Filed 10/13/22            Page 43 of 88



FOR INQUIRIES CALL:   SUTTON                                                                        ACCOUNT TYPE
                      (212) 888-9660
                                                                                                      IOLA NOW
                                                      00   0 00537M NM 017
                                                                                 ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                           9871733441                 09/01/20 - 09/30/20
                                                              P
                                                                              BEGINNING BALANCE                             $1,907.97
                      AARON ETRA, ESQ, ATTY.
                                                                              DEPOSITS & CREDITS                             4,500.00
                      IOLA ATTORNEY TRUST
                                                                              LESS CHECKS & DEBITS                           5,253.25
                      445 PARK AVE
                                                                              INTEREST                                            0.46
                      9TH FL
                                                                              LESS SERVICE CHARGES                                0.00
                      NEW YORK NY 10022
                                                                              ENDING BALANCE                                $1,155.18




                                                                                             ANNUAL INTEREST RATE
                                                                               08/31/2020      - 09/02/2020                  0.35%
                                                                               09/03/2020      - 09/30/2020                  0.25%

INTEREST PAID YEAR TO DATE                        $5.01

                                                      ACCOUNT ACTIVITY
 POSTING                                                            DEPOSITS & OTHER        WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                 CREDITS (+)          OTHER DEBITS (-)             BALANCE
 09/01/2020   BEGINNING BALANCE                                                                                              $1,907.97
 09/01/2020   FISHER ENTERPRIS ACH Pmt 5260341726                            $1,500.00                                        3,407.97
 09/09/2020   OUTGOING CHIPS FUNDS TRANSFER                                                          $1,200.00                2,207.97
 09/16/2020   FISHER ENTERPRIS ACH Pmt   5261868820                           1,500.00
 09/16/2020   FISHER ENTERPRIS ACH Pmt   5261883042                           1,500.00                                        5,207.97
 09/17/2020   OUTGOING FEDWIRE FUNDS TRANSFER                                                         4,052.79
              SEAVER WANG                                                                                                     1,155.18
 09/30/2020   INTEREST PAYMENT                                                    0.46
 09/30/2020   INTEREST TRANSFER OUT                                                                       0.46                1,155.18
              NUMBER OF DEPOSITS/CHECKS PAID                                       3                        0




                                                                                                                            PAGE 1 OF 2
                                         MANUFACTURERS AND TRADERS TRUST COMPANY
                                          350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 44 of 88
              Case 1:20-cv-03384-VEC-KHP               Document 192-20          Filed 10/13/22             Page 45 of 88



FOR INQUIRIES CALL:    SUTTON                                                                          ACCOUNT TYPE
                       (212) 888-9660
                                                                                                         IOLA NOW
                                                       00   0 00537M NM 017
                                                                                   ACCOUNT NUMBER                   STATEMENT PERIOD
                      000000                                                             9871733441                  10/01/20 - 10/31/20
                                                               P
                                                                                BEGINNING BALANCE                              $1,155.18
                      AARON ETRA, ESQ, ATTY.
                                                                                DEPOSITS & CREDITS                             26,150.00
                      IOLA ATTORNEY TRUST
                                                                                LESS CHECKS & DEBITS                           26,301.00
                      445 PARK AVE FL 9
                                                                                INTEREST                                             1.00
                      NEW YORK NY 10022-8606
                                                                                LESS SERVICE CHARGES                                 0.00
                                                                                ENDING BALANCE                                 $1,005.18




                                                                                                ANNUAL INTEREST RATE
                                                                                  09/30/2020       -    10/31/2020              0.25%

INTEREST PAID YEAR TO DATE                         $6.01

                                                       ACCOUNT ACTIVITY
 POSTING                                                             DEPOSITS & OTHER          WITHDRAWALS &                 DAILY
                            TRANSACTION DESCRIPTION
  DATE                                                                  CREDITS (+)            OTHER DEBITS (-)             BALANCE
 10/01/2020   BEGINNING BALANCE                                                                                                 $1,155.18
 10/16/2020   INCOMING CHIPS FUNDS TRANSFER                                   $26,000.00
              OCEANIX INC.
 10/16/2020   Steven Kavanagh Kavanagh 148434787                                 150.00                                         27,305.18
 10/20/2020   OUTGOING CHIPS FUNDS TRANSFER                                                            $25,000.00
              DORAX INVESTMENTS COMPANY                                                                                          2,305.18
 10/23/2020   COUNTER WITHDRAWAL                                                                           800.00                1,505.18
 10/28/2020   COUNTER WITHDRAWAL                                                                           500.00                1,005.18
 10/30/2020   INTEREST PAYMENT                                                      1.00
 10/30/2020   INTEREST TRANSFER OUT                                                                          1.00                1,005.18
              NUMBER OF DEPOSITS/CHECKS PAID                                         2                         0




                                                                                                                               PAGE 1 OF 2
                                         MANUFACTURERS AND TRADERS TRUST COMPANY
                                          350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 46 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22           Page 47 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                        9871733441                 11/01/20 - 11/30/20
                                                             P
                                                                            BEGINNING BALANCE                            $1,005.18
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                                 0.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                               0.20
                      445 PARK AVE FL 9
                                                                            INTEREST                                           0.20
                      NEW YORK NY 10022-8606
                                                                            LESS SERVICE CHARGES                               0.00
                                                                            ENDING BALANCE                               $1,005.18




                                                                                          ANNUAL INTEREST RATE
                                                                            10/31/2020       -    11/30/2020              0.25%

INTEREST PAID YEAR TO DATE                     $6.21

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER      WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)        OTHER DEBITS (-)             BALANCE
 11/01/2020   BEGINNING BALANCE                                                                                           $1,005.18
 11/30/2020   INTEREST PAYMENT                                               $0.20
 11/30/2020   INTEREST TRANSFER OUT                                                                   $0.20                1,005.18
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                        0




                                                                                                                         PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 48 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22           Page 49 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                        9871733441                 12/01/20 - 12/31/20
                                                             P
                                                                            BEGINNING BALANCE                            $1,005.18
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                                0.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                            500.16
                      445 PARK AVE FL 9
                                                                            INTEREST                                           0.16
                      NEW YORK NY 10022-8606
                                                                            LESS SERVICE CHARGES                               0.00
                                                                            ENDING BALANCE                                 $505.18




                                                                                          ANNUAL INTEREST RATE
                                                                            11/30/2020       -    12/31/2020              0.25%

INTEREST PAID YEAR TO DATE                     $6.37

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER      WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)        OTHER DEBITS (-)             BALANCE
 12/01/2020   BEGINNING BALANCE                                                                                           $1,005.18
 12/15/2020   COUNTER WITHDRAWAL                                                                   $500.00                   505.18
 12/31/2020   INTEREST PAYMENT                                               $0.16
 12/31/2020   INTEREST TRANSFER OUT                                                                    0.16                  505.18
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                        0




                                                                                                                         PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 50 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22           Page 51 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                        9871733441                 01/01/21 - 01/31/21
                                                             P
                                                                            BEGINNING BALANCE                              $505.18
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                                 0.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                               0.10
                      445 PARK AVE FL 9
                                                                            INTEREST                                           0.10
                      NEW YORK NY 10022-8606
                                                                            LESS SERVICE CHARGES                               0.00
                                                                            ENDING BALANCE                                 $505.18




                                                                                          ANNUAL INTEREST RATE
                                                                            12/31/2020       -    01/31/2021              0.25%

INTEREST PAID YEAR TO DATE                     $0.10

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER      WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)        OTHER DEBITS (-)             BALANCE
 01/01/2021   BEGINNING BALANCE                                                                                             $505.18
 01/29/2021   INTEREST PAYMENT                                               $0.10
 01/29/2021   INTEREST TRANSFER OUT                                                                   $0.10                  505.18
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                        0




                                                                                                                         PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 52 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22           Page 53 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                        9871733441                 02/01/21 - 02/28/21
                                                             P
                                                                            BEGINNING BALANCE                              $505.18
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                                 0.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                               0.10
                      445 PARK AVE FL 9
                                                                            INTEREST                                           0.10
                      NEW YORK NY 10022-8606
                                                                            LESS SERVICE CHARGES                               0.00
                                                                            ENDING BALANCE                                 $505.18




                                                                                          ANNUAL INTEREST RATE
                                                                            01/31/2021       -    02/28/2021              0.25%

INTEREST PAID YEAR TO DATE                     $0.20

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER      WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)        OTHER DEBITS (-)             BALANCE
 02/01/2021   BEGINNING BALANCE                                                                                             $505.18
 02/26/2021   INTEREST PAYMENT                                               $0.10
 02/26/2021   INTEREST TRANSFER OUT                                                                   $0.10                  505.18
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                        0




                                                                                                                         PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 54 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22           Page 55 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                        9871733441                 03/01/21 - 03/31/21
                                                             P
                                                                            BEGINNING BALANCE                              $505.18
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                                 0.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                               0.11
                      445 PARK AVE FL 9
                                                                            INTEREST                                           0.11
                      NEW YORK NY 10022-8606
                                                                            LESS SERVICE CHARGES                               0.00
                                                                            ENDING BALANCE                                 $505.18




                                                                                          ANNUAL INTEREST RATE
                                                                            02/28/2021       -    03/31/2021              0.25%

INTEREST PAID YEAR TO DATE                     $0.31

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER      WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)        OTHER DEBITS (-)             BALANCE
 03/01/2021   BEGINNING BALANCE                                                                                             $505.18
 03/31/2021   INTEREST PAYMENT                                               $0.11
 03/31/2021   INTEREST TRANSFER OUT                                                                   $0.11                  505.18
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                        0


               TREASURY MANAGEMENT ("TM") CUSTOMERS - WE HAVE REVISED OUR STANDARD MASTER
               TREASURY MANAGEMENT SERVICES AGREEMENT ("TM AGREEMENT") AND PRODUCT TERMS AND
               CONDITIONS BOOKLET ("BOOKLET"). EFFECTIVE MAY 1, 2021, YOUR USE OF TM SERVICES
               WILL BE GOVERNED BY THE REVISED BOOKLET AND BY THE TM AGREEMENT SIGNED BY YOUR
               ORGANIZATION AS AMENDED BY THE REVISED TM AGREEMENT. TO REVIEW ADDITIONAL
               DETAILS, A SUMMARY OF CHANGES, AND THE REVISED BOOKLET AND TM AGREEMENT, VISIT
               MTB.COM/TMTERMS. THE ABOVE MESSAGE DOES NOT APPLY TO CUSTOMERS WHOSE TM SERVICES
               ARE GOVERNED BY NEGOTIATED AGREEMENTS OR TM AGREEMENTS DATED PRIOR TO 2012.




                                                                                                                         PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 56 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22            Page 57 of 88



FOR INQUIRIES CALL:   SUTTON                                                                      ACCOUNT TYPE
                      (212) 888-9660
                                                                                                    IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                   STATEMENT PERIOD
                      000000                                                        9871733441                  04/01/21 - 04/30/21
                                                             P
                                                                            BEGINNING BALANCE                               $505.18
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                               150.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                               0.12
                      445 PARK AVE FL 9
                                                                            INTEREST                                            0.12
                      NEW YORK NY 10022-8606
                                                                            LESS SERVICE CHARGES                                0.00
                                                                            ENDING BALANCE                                  $655.18




                                                                                           ANNUAL INTEREST RATE
                                                                             03/31/2021       -    04/30/2021              0.25%

INTEREST PAID YEAR TO DATE                      $0.43

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER       WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)         OTHER DEBITS (-)             BALANCE
 04/01/2021   BEGINNING BALANCE                                                                                              $505.18
 04/09/2021   INCOMING FEDWIRE FUNDS TRANSFER                               $150.00
              NOVAVIS MEDICAL AG                                                                                              655.18
 04/30/2021   INTEREST PAYMENT                                                 0.12
 04/30/2021   INTEREST TRANSFER OUT                                                                    $0.12                  655.18
              NUMBER OF DEPOSITS/CHECKS PAID                                    1                         0


               TREASURY MANAGEMENT ("TM") CUSTOMERS - WE HAVE REVISED OUR STANDARD MASTER
               TREASURY MANAGEMENT SERVICES AGREEMENT ("TM AGREEMENT") AND PRODUCT TERMS AND
               CONDITIONS BOOKLET ("BOOKLET"). EFFECTIVE MAY 1, 2021, YOUR USE OF TM SERVICES
               WILL BE GOVERNED BY THE REVISED BOOKLET AND BY THE TM AGREEMENT SIGNED BY YOUR
               ORGANIZATION AS AMENDED BY THE REVISED TM AGREEMENT. TO REVIEW ADDITIONAL
               DETAILS, A SUMMARY OF CHANGES, AND THE REVISED BOOKLET AND TM AGREEMENT, VISIT
               MTB.COM/TMTERMS. THE ABOVE MESSAGE DOES NOT APPLY TO CUSTOMERS WHOSE TM SERVICES
               ARE GOVERNED BY NEGOTIATED AGREEMENTS OR TM AGREEMENTS DATED PRIOR TO 2012.




                                                                                                                          PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 58 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22            Page 59 of 88



FOR INQUIRIES CALL:   SUTTON                                                                      ACCOUNT TYPE
                      (212) 888-9660
                                                                                                    IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                   STATEMENT PERIOD
                      000000                                                        9871733441                  05/01/21 - 05/31/21
                                                             P
                                                                            BEGINNING BALANCE                               $655.18
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                               150.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                               0.16
                      445 PARK AVE FL 9
                                                                            INTEREST                                            0.16
                      NEW YORK NY 10022-8606
                                                                            LESS SERVICE CHARGES                                0.00
                                                                            ENDING BALANCE                                  $805.18




                                                                                           ANNUAL INTEREST RATE
                                                                             04/30/2021       -    05/31/2021              0.25%

INTEREST PAID YEAR TO DATE                       $0.59

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER       WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)         OTHER DEBITS (-)             BALANCE
 05/01/2021   BEGINNING BALANCE                                                                                              $655.18
 05/17/2021   POUND INTERNATIO SENDER    523112108                          $150.00                                           805.18
 05/28/2021   INTEREST PAYMENT                                                 0.16
 05/28/2021   INTEREST TRANSFER OUT                                                                    $0.16                  805.18
              NUMBER OF DEPOSITS/CHECKS PAID                                    1                         0




                                                                                                                          PAGE 1 OF 2
                                        MANUFACTURERS AND TRADERS TRUST COMPANY
                                         350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 60 of 88
              Case 1:20-cv-03384-VEC-KHP                   Document 192-20        Filed 10/13/22            Page 61 of 88



FOR INQUIRIES CALL:   SUTTON                                                                            ACCOUNT TYPE
                      (212) 888-9660
                                                                                                          IOLA NOW
                                                           00   0 00537M NM 017
                                                                                    ACCOUNT NUMBER                   STATEMENT PERIOD
                      000000                                                              9871733441                  06/01/21 - 06/30/21
                                                                   P
                                                                                  BEGINNING BALANCE                               $805.18
                      AARON ETRA, ESQ, ATTY.
                                                                                  DEPOSITS & CREDITS                               150.00
                      IOLA ATTORNEY TRUST
                                                                                  LESS CHECKS & DEBITS                               0.17
                      445 PARK AVE FL 9
                                                                                  INTEREST                                            0.17
                      NEW YORK NY 10022-8606
                                                                                  LESS SERVICE CHARGES                                0.00
                                                                                  ENDING BALANCE                                  $955.18




                                                                                                 ANNUAL INTEREST RATE
                                                                                   05/31/2021       -    06/30/2021              0.25%

INTEREST PAID YEAR TO DATE                             $0.76

                                                           ACCOUNT ACTIVITY
 POSTING                                                                 DEPOSITS & OTHER       WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                      CREDITS (+)         OTHER DEBITS (-)             BALANCE
 06/01/2021   BEGINNING BALANCE                                                                                                    $805.18
 06/29/2021   XOOM TRANSFER            1014416487443                              $150.00                                           955.18
 06/30/2021   INTEREST PAYMENT                                                       0.17
 06/30/2021   INTEREST TRANSFER OUT                                                                          $0.17                  955.18
              NUMBER OF DEPOSITS/CHECKS PAID                                          1                         0




                                                                                                                                PAGE 1 OF 2
                                          MANUFACTURERS AND TRADERS TRUST COMPANY
                                           350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 62 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22            Page 63 of 88



FOR INQUIRIES CALL:   SUTTON                                                                      ACCOUNT TYPE
                      (212) 888-9660
                                                                                                    IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                   STATEMENT PERIOD
                      000000                                                        9871733441                  07/01/21 - 07/31/21
                                                             N
                                                                            BEGINNING BALANCE                               $955.18
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                               300.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                             150.22
                      445 PARK AVE
                                                                            INTEREST                                            0.22
                      9TH FL
                                                                            LESS SERVICE CHARGES                                0.00
                      NEW YORK NY 10022
                                                                            ENDING BALANCE                                $1,105.18




                                                                                           ANNUAL INTEREST RATE
                                                                             06/30/2021       -    07/31/2021              0.25%

INTEREST PAID YEAR TO DATE                      $0.98

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER       WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)         OTHER DEBITS (-)             BALANCE
 07/01/2021   BEGINNING BALANCE                                                                                              $955.18
 07/12/2021   INCOMING FEDWIRE FUNDS TRANSFER                               $150.00
              MICHAEL E BAGLEY                                                                                              1,105.18
 07/19/2021   INCOMING CHIPS FUNDS TRANSFER                                  150.00
              ALBA LUCIA GIRALDO                                                                                            1,255.18
 07/23/2021   OUTGOING FEDWIRE FUNDS TRANSFER                                                       $150.00
              SEAZER WANG                                                                                                   1,105.18
 07/30/2021   INTEREST PAYMENT                                                 0.22
 07/30/2021   INTEREST TRANSFER OUT                                                                     0.22                1,105.18
              NUMBER OF DEPOSITS/CHECKS PAID                                    2                         0


               DEPOSIT ACCOUNT CUSTOMERS - WE HAVE REVISED OUR COMMERCIAL DEPOSIT ACCOUNT
               AGREEMENT ("CDAA"). EFFECTIVE SEPTEMBER 16, 2021, YOUR USE OF COMMERCIAL DEPOSIT
               ACCOUNTS WILL BE GOVERNED BY THE REVISED CDAA. TO REVIEW ADDITIONAL DETAILS AND
               THE REVISED CDAA, VISIT MTB.COM/CDAA.




                                                                                                                          PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 64 of 88
              Case 1:20-cv-03384-VEC-KHP               Document 192-20          Filed 10/13/22             Page 65 of 88



FOR INQUIRIES CALL:   SUTTON                                                                           ACCOUNT TYPE
                      (212) 888-9660
                                                                                                         IOLA NOW
                                                       00   0 00537M NM 017
                                                                                   ACCOUNT NUMBER                   STATEMENT PERIOD
                      000000                                                             9871733441                  08/01/21 - 08/31/21
                                                               N
                                                                                BEGINNING BALANCE                              $1,105.18
                      AARON ETRA, ESQ, ATTY.
                                                                                DEPOSITS & CREDITS                            226,200.00
                      IOLA ATTORNEY TRUST
                                                                                LESS CHECKS & DEBITS                          128,413.94
                      445 PARK AVE
                                                                                INTEREST                                           12.35
                      9TH FL
                                                                                LESS SERVICE CHARGES                                0.00
                      NEW YORK NY 10022
                                                                                ENDING BALANCE                                $98,903.59




                                                                                                ANNUAL INTEREST RATE
                                                                                  07/31/2021       -    08/31/2021              0.25%

INTEREST PAID YEAR TO DATE                        $13.33

                                                       ACCOUNT ACTIVITY
 POSTING                                                             DEPOSITS & OTHER          WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                  CREDITS (+)            OTHER DEBITS (-)             BALANCE
 08/01/2021   BEGINNING BALANCE                                                                                                 $1,105.18
 08/05/2021   WEB XFER FROM CHK 00009871733433                                 $3,000.00
 08/05/2021   OUTGOING CHIPS FUNDS TRANSFER                                                             $2,500.00
              CREATIVE GLOBAL FUNDING SERVICES                                                                                   1,605.18
 08/13/2021   INCOMING FEDWIRE FUNDS TRANSFER                                 204,000.00
              PASS LLC
 08/13/2021   OUTGOING CHIPS FUNDS TRANSFER                                                            125,000.00
              MOTHERLAND INVESTMENT PORTFOLIO                                                                                   80,605.18
 08/16/2021   COUNTER WITHDRAWAL                                                                           900.00               79,705.18
 08/18/2021   INCOMING FEDWIRE FUNDS TRANSFER                                  19,200.00
              PASS, LLC                                                                                                         98,905.18
 08/19/2021   PAYPAL INST XFER         OLD NAVY                                                              1.59               98,903.59
 08/31/2021   INTEREST PAYMENT                                                    12.35
 08/31/2021   INTEREST TRANSFER OUT                                                                         12.35               98,903.59
              NUMBER OF DEPOSITS/CHECKS PAID                                         3                         0


               DEPOSIT ACCOUNT CUSTOMERS - WE HAVE REVISED OUR COMMERCIAL DEPOSIT ACCOUNT
               AGREEMENT ("CDAA"). EFFECTIVE SEPTEMBER 16, 2021, YOUR USE OF COMMERCIAL DEPOSIT
               ACCOUNTS WILL BE GOVERNED BY THE REVISED CDAA. TO REVIEW ADDITIONAL DETAILS AND
               THE REVISED CDAA, VISIT MTB.COM/CDAA.




                                                                                                                               PAGE 1 OF 2
                                          MANUFACTURERS AND TRADERS TRUST COMPANY
                                           350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 66 of 88
              Case 1:20-cv-03384-VEC-KHP                Document 192-20         Filed 10/13/22            Page 67 of 88



FOR INQUIRIES CALL:   SUTTON                                                                          ACCOUNT TYPE
                      (212) 888-9660
                                                                                                        IOLA NOW
                                                        00   0 00537M NM 017
                                                                                   ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                             9871733441                 09/01/21 - 09/30/21
                                                                N
                                                                                BEGINNING BALANCE                            $98,903.59
                      AARON ETRA, ESQ, ATTY.
                                                                                DEPOSITS & CREDITS                             4,080.00
                      IOLA ATTORNEY TRUST
                                                                                LESS CHECKS & DEBITS                          98,361.54
                      445 PARK AVE
                                                                                INTEREST                                            5.17
                      9TH FL
                                                                                LESS SERVICE CHARGES                                0.00
                      NEW YORK NY 10022
                                                                                ENDING BALANCE                                $4,627.22




                                                                                               ANNUAL INTEREST RATE
                                                                                 08/31/2021       -    09/30/2021              0.25%

INTEREST PAID YEAR TO DATE                        $18.50

                                                        ACCOUNT ACTIVITY
 POSTING                                                              DEPOSITS & OTHER        WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                   CREDITS (+)          OTHER DEBITS (-)             BALANCE
 09/01/2021   BEGINNING BALANCE                                                                                               $98,903.59
 09/02/2021   PAYPAL INST XFER         APPLE.COM BILL                                                     $12.78               98,890.81
 09/07/2021   OUTGOING CHIPS FUNDS TRANSFER                                                            73,940.00
              MOTHERLAND INVESTMENT PORTFOLIO
 09/07/2021   PAYPAL INST XFER     APPLE.COM BILL                                                           2.99               24,947.82
 09/08/2021   OUTGOING CHIPS FUNDS TRANSFER                                                            19,170.00
              MOTHERLAND INVESTMENT PORTFOLIO
 09/08/2021   PAYPAL INST XFER      ADOBE INC                                                              16.32                5,761.50
 09/13/2021   COSMOR TUMBLR PT IAT PAYPAL 1015711377162                                                    24.50                5,737.00
 09/20/2021   RPG VENTURES PTE IAT PAYPAL 1015827259759                                                    90.00                5,647.00
 09/22/2021   PAYPAL INST XFER         GENIUSBRAND                                                         37.56
 09/22/2021   PAYPAL INST XFER         GENIUSBRAND                                                        151.34                5,458.10
 09/23/2021   PAYPAL INST XFER   APPLE.COM BILL                                                            10.88                5,447.22
 09/24/2021   COUNTER WITHDRAWAL                                                                          900.00                4,547.22
 09/27/2021   INCOMING FEDWIRE FUNDS TRANSFER                                  $4,080.00
              DESMOND HINDS                                                                                                     8,627.22
 09/30/2021   INTEREST PAYMENT                                                      5.17
 09/30/2021   OUTGOING CHIPS FUNDS TRANSFER                                                             4,000.00
              AUDIOUS KASHESHA
 09/30/2021   INTEREST TRANSFER OUT                                                                         5.17                4,627.22
              NUMBER OF DEPOSITS/CHECKS PAID                                         1                        0


               DEPOSIT ACCOUNT CUSTOMERS - WE HAVE REVISED OUR COMMERCIAL DEPOSIT ACCOUNT
               AGREEMENT ("CDAA"). EFFECTIVE SEPTEMBER 16, 2021, YOUR USE OF COMMERCIAL DEPOSIT
               ACCOUNTS WILL BE GOVERNED BY THE REVISED CDAA. TO REVIEW ADDITIONAL DETAILS AND
               THE REVISED CDAA, VISIT MTB.COM/CDAA.




                                                                                                                              PAGE 1 OF 2
                                           MANUFACTURERS AND TRADERS TRUST COMPANY
                                            350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 68 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22            Page 69 of 88



FOR INQUIRIES CALL:   SUTTON                                                                      ACCOUNT TYPE
                      (212) 888-9660
                                                                                                    IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                   STATEMENT PERIOD
                      000000                                                        9871733441                  10/01/21 - 10/31/21
                                                             N
                                                                            BEGINNING BALANCE                             $4,627.22
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                               130.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                           1,700.78
                      445 PARK AVE
                                                                            INTEREST                                            0.78
                      9TH FL
                                                                            LESS SERVICE CHARGES                                0.00
                      NEW YORK NY 10022
                                                                            ENDING BALANCE                                $3,057.22




                                                                                           ANNUAL INTEREST RATE
                                                                             09/30/2021       -    10/31/2021              0.25%

INTEREST PAID YEAR TO DATE                      $19.28

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER       WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)         OTHER DEBITS (-)             BALANCE
 10/01/2021   BEGINNING BALANCE                                                                                            $4,627.22
 10/01/2021   COUNTER WITHDRAWAL                                                                    $900.00                 3,727.22
 10/25/2021   INCOMING FEDWIRE FUNDS TRANSFER                               $130.00
              KONRAD JAN BANASIAK                                                                                           3,857.22
 10/29/2021   INTEREST PAYMENT                                                 0.78
 10/29/2021   COUNTER WITHDRAWAL                                                                      800.00
 10/29/2021   INTEREST TRANSFER OUT                                                                     0.78                3,057.22
              NUMBER OF DEPOSITS/CHECKS PAID                                    1                         0




                                                                                                                          PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 70 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22            Page 71 of 88



FOR INQUIRIES CALL:   SUTTON                                                                      ACCOUNT TYPE
                      (212) 888-9660
                                                                                                    IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                   STATEMENT PERIOD
                      000000                                                        9871733441                  11/01/21 - 11/30/21
                                                             N
                                                                            BEGINNING BALANCE                             $3,057.22
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                               300.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                               0.65
                      445 PARK AVE
                                                                            INTEREST                                            0.65
                      9TH FL
                                                                            LESS SERVICE CHARGES                                0.00
                      NEW YORK NY 10022
                                                                            ENDING BALANCE                                $3,357.22




                                                                                           ANNUAL INTEREST RATE
                                                                             10/31/2021       -    11/30/2021              0.25%

INTEREST PAID YEAR TO DATE                     $19.93

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER       WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)         OTHER DEBITS (-)             BALANCE
 11/01/2021   BEGINNING BALANCE                                                                                            $3,057.22
 11/12/2021   DEPOSIT                                                       $150.00                                         3,207.22
 11/29/2021   INCOMING CHIPS FUNDS TRANSFER                                  150.00
              1/BORNA TOMICIC                                                                                               3,357.22
 11/30/2021   INTEREST PAYMENT                                                 0.65
 11/30/2021   INTEREST TRANSFER OUT                                                                    $0.65                3,357.22
              NUMBER OF DEPOSITS/CHECKS PAID                                    2                         0


               AS OF JANUARY 1, 2022, M&T BANK WILL NO LONGER CHARGE A FEE FOR EXTENDED
               OVERDRAFT AND OVERDRAFT TRANSFER FROM SAVINGS. INSUFFICIENT FUNDS
               (NSF)/OVERDRAFT FEES WILL BE $36 PER ITEM.




                                                                                                                          PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 72 of 88
              Case 1:20-cv-03384-VEC-KHP              Document 192-20          Filed 10/13/22             Page 73 of 88



FOR INQUIRIES CALL:   SUTTON                                                                          ACCOUNT TYPE
                      (212) 888-9660
                                                                                                        IOLA NOW
                                                      00   0 00537M NM 017
                                                                                  ACCOUNT NUMBER                   STATEMENT PERIOD
                      000000                                                          9871733441                    12/01/21 - 12/31/21
                                                              N
                                                                               BEGINNING BALANCE                              $3,357.22
                      AARON ETRA, ESQ, ATTY.
                                                                               DEPOSITS & CREDITS                            193,002.78
                      IOLA ATTORNEY TRUST
                                                                               LESS CHECKS & DEBITS                          150,745.94
                      445 PARK AVE
                                                                               INTEREST                                             8.14
                      9TH FL
                                                                               LESS SERVICE CHARGES                                 0.00
                      NEW YORK NY 10022
                                                                               ENDING BALANCE                                $45,622.20




                                                                                               ANNUAL INTEREST RATE
                                                                                 11/30/2021       -    12/31/2021              0.25%

INTEREST PAID YEAR TO DATE                       $28.07

                                                      ACCOUNT ACTIVITY
 POSTING                                                            DEPOSITS & OTHER          WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                 CREDITS (+)            OTHER DEBITS (-)             BALANCE
 12/01/2021   BEGINNING BALANCE                                                                                                $3,357.22
 12/06/2021   INCOMING FEDWIRE FUNDS TRANSFER                                $40,000.00
              TENNESSEE BAR FOUNDATION                                                                                         43,357.22
 12/07/2021   COUNTER WITHDRAWAL                                                                       $1,200.00               42,157.22
 12/08/2021   INCOMING CHIPS FUNDS TRANSFER                                     150.00
              ULTIMA RACING STABLE PTE LTD                                                                                     42,307.22
 12/10/2021   OUTGOING FEDWIRE FUNDS TRANSFER                                                           5,000.00
              CAROL KITTRELL
 12/10/2021   OUTGOING FEDWIRE FUNDS TRANSFER                                                           5,000.00
              ADAM KLEIN
 12/10/2021   OUTGOING FEDWIRE FUNDS TRANSFER                                                           5,000.00
              CHARLES TUCKER JR                                                                                                27,307.22
 12/13/2021   OUTGOING FEDWIRE FUNDS TRANSFER                                                           5,000.00
              WILLIAM H SANDERS III                                                                                            22,307.22
 12/15/2021   INCOMING FEDWIRE FUNDS TRANSFER                                   150.00
              FISCAL ASSET MANAGEMENT EUROPE PTY                                                                               22,457.22
 12/16/2021   OUTGOING FEDWIRE FUNDS TRANSFER                                                           5,000.00
              TERRY R HOLLAND
 12/16/2021   COUNTER WITHDRAWAL                                                                        1,000.00               16,457.22
 12/20/2021   INCOMING FEDWIRE FUNDS TRANSFER                                100,000.00
              GEORGE MICHAEL DU PLOOY
 12/20/2021   AMEX EPAYMENT ACH PMT    M4508                                                              330.00
 12/20/2021   AMEX EPAYMENT ACH PMT      W1488                                                          1,000.00              115,127.22
 12/21/2021   INCOMING FEDWIRE FUNDS TRANSFER                                 24,950.00
              WF EXC RTN TO SNDR 721 WIP
 12/21/2021   INCOMING FEDWIRE FUNDS TRANSFER                                  2,502.78
              PATRICK CREAMER
 12/21/2021   OUTGOING FEDWIRE FUNDS TRANSFER                                                          25,000.00
              OCEANIX INC.
 12/21/2021   AMEX EPAYMENT ACH PMT      M0434                                                          1,307.80              116,272.20
 12/22/2021   INCOMING FEDWIRE FUNDS TRANSFER                                 24,950.00
              WF EXC RTN TO SNDR 721 WIP
 12/22/2021   OUTGOING CHIPS FUNDS TRANSFER                                                            25,000.00
              GAVIN DE ROTHSCHILD



                                                                                                                              PAGE 1 OF 3
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
              Case 1:20-cv-03384-VEC-KHP             Document 192-20       Filed 10/13/22            Page 74 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW

                                                                              ACCOUNT NUMBER                  STATEMENT PERIOD
                                                                                    9871733441                 12/01/21 - 12/31/21


                      AARON ETRA, ESQ, ATTY.
                      IOLA ATTORNEY TRUST




                                                     ACCOUNT ACTIVITY
 POSTING                                                          DEPOSITS & OTHER      WITHDRAWALS &                  DAILY
                           TRANSACTION DESCRIPTION
   DATE                                                              CREDITS (+)        OTHER DEBITS (-)              BALANCE
 12/22/2021   OUTGOING FEDWIRE FUNDS TRANSFER                                                 25,000.00
              OCEANIX INC.                                                                                                91,222.20
 12/23/2021   OUTGOING FEDWIRE FUNDS TRANSFER                                                      1,400.00
              PAUL SELBY
 12/23/2021   OUTGOING FEDWIRE FUNDS TRANSFER                                                      7,000.00
              SARAH SAFFREED                                                                                              82,822.20
 12/24/2021   OUTGOING FEDWIRE FUNDS TRANSFER                                                     35,000.00
              PREMIER PLUS TRANSPORT LLC                                                                                  47,822.20
 12/27/2021   INCOMING FEDWIRE FUNDS TRANSFER                               150.00
              TIMOTHY L SANFORD                                                                                           47,972.20
 12/29/2021   INCOMING FEDWIRE FUNDS TRANSFER                               150.00
              INCEPT HOLDINGS BVI LTD.                                                                                    48,122.20
 12/31/2021   INTEREST PAYMENT                                                8.14
 12/31/2021   OUTGOING FEDWIRE FUNDS TRANSFER                                                       500.00
              WILLIAM H SANDERS III
 12/31/2021   OUTGOING FEDWIRE FUNDS TRANSFER                                                      2,000.00
              SARAH SAFFEED
 12/31/2021   INTEREST TRANSFER OUT                                                                    8.14               45,622.20
              NUMBER OF DEPOSITS/CHECKS PAID                                    9                        0


               AS OF JANUARY 1, 2022, M&T BANK WILL NO LONGER CHARGE A FEE FOR EXTENDED
               OVERDRAFT AND OVERDRAFT TRANSFER FROM SAVINGS. INSUFFICIENT FUNDS
               (NSF)/OVERDRAFT FEES WILL BE $36 PER ITEM.




                                                                                                                         PAGE 2 OF 3
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 75 of 88
              Case 1:20-cv-03384-VEC-KHP                   Document 192-20         Filed 10/13/22            Page 76 of 88



FOR INQUIRIES CALL:    SUTTON                                                                            ACCOUNT TYPE
                       (212) 888-9660
                                                                                                           IOLA NOW
                                                           00   0 00537M NM 017
                                                                                      ACCOUNT NUMBER                  STATEMENT PERIOD
                       000000                                                               9871733441                 01/01/22 - 01/31/22
                                                                   N
                                                                                   BEGINNING BALANCE                            $45,622.20
                       AARON ETRA, ESQ, ATTY.
                                                                                   DEPOSITS & CREDITS                            10,450.86
                       IOLA ATTORNEY TRUST
                                                                                   LESS CHECKS & DEBITS                          40,507.91
                       445 PARK AVE
                                                                                   INTEREST                                            7.05
                       9TH FL
                                                                                   LESS SERVICE CHARGES                                0.00
                       NEW YORK NY 10022
                                                                                   ENDING BALANCE                               $15,572.20




                                                                                                  ANNUAL INTEREST RATE
                                                                                    12/31/2021       -    01/31/2022              0.25%

INTEREST PAID YEAR TO DATE                             $7.05

                                                           ACCOUNT ACTIVITY
 POSTING                                                                 DEPOSITS & OTHER        WITHDRAWALS &                 DAILY
                            TRANSACTION DESCRIPTION
  DATE                                                                      CREDITS (+)          OTHER DEBITS (-)             BALANCE
 01/01/2022   BEGINNING BALANCE                                                                                                  $45,622.20
 01/03/2022   AMEX EPAYMENT ACH PMT       W3424                                                            $500.00                45,122.20
 01/10/2022   Instarem PTE Lim PY22230409 PY22230409                               $300.00                                        45,422.20
 01/12/2022   CITIBANK XFER IIT_CREDIT 4377788377                                     0.31
 01/12/2022   CITIBANK XFER IIT_CREDIT 4377788375                                      0.19
 01/12/2022   CITIBANK XFER IIT_DEBIT 4377788379                                                               0.50               45,422.20
 01/13/2022   CITIBK CK WEBXFR TRANSFER 4382124331                                                        10,000.00               35,422.20
 01/14/2022   ERIC VALDES SENDER     564168404                                      150.00                                        35,572.20
 01/18/2022   ACH DISPUTE CREDIT - Case 16775324                                  10,000.00                                       45,572.20
 01/19/2022   OUTGOING FEDWIRE FUNDS TRANSFER                                                             20,000.00
              PREMIER PLUS TRANSPORT LLC
 01/19/2022   OUTGOING FEDWIRE FUNDS TRANSFER                                                              5,000.00
              SARAH SAFFREED                                                                                                      20,572.20
 01/21/2022   WELLS FARGO IFI TRIAL DEP TD0DDPVJKP                                     0.29
 01/21/2022   WELLS FARGO IFI TRIAL DEP TD0DDPVJFR                                     0.07
 01/21/2022   OUTGOING FEDWIRE FUNDS TRANSFER                                                              5,000.00
              SEAVER WANG
 01/21/2022   WELLS FARGO IFI TRIAL DEP TD0DDPVJFR                                                             0.36               15,572.20
 01/31/2022   INTEREST PAYMENT                                                         7.05
 01/31/2022   INTEREST TRANSFER OUT                                                                            7.05               15,572.20
              NUMBER OF DEPOSITS/CHECKS PAID                                            7                        0




                                                                                                                                 PAGE 1 OF 2
                                          MANUFACTURERS AND TRADERS TRUST COMPANY
                                           350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 77 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22            Page 78 of 88



FOR INQUIRIES CALL:   SUTTON                                                                      ACCOUNT TYPE
                      (212) 888-9660
                                                                                                    IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                   STATEMENT PERIOD
                      000000                                                        9871733441                  02/01/22 - 02/28/22
                                                             N
                                                                            BEGINNING BALANCE                            $15,572.20
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                               150.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                           2,611.25
                      445 PARK AVE
                                                                            INTEREST                                            2.72
                      9TH FL
                                                                            LESS SERVICE CHARGES                                0.00
                      NEW YORK NY 10022
                                                                            ENDING BALANCE                               $13,113.67




                                                                                           ANNUAL INTEREST RATE
                                                                             01/31/2022       -    02/28/2022              0.25%

INTEREST PAID YEAR TO DATE                      $9.77

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER       WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)         OTHER DEBITS (-)             BALANCE
 02/01/2022   BEGINNING BALANCE                                                                                           $15,572.20
 02/03/2022   WEB XFER TO CHK 00009871733433                                                        $200.00                15,372.20
 02/07/2022   AMEX EPAYMENT ACH PMT    W8588                                                        1,219.95               14,152.25
 02/17/2022   INCOMING FEDWIRE FUNDS TRANSFER                               $150.00
              PUERTA DEL PACIFICO SAC                                                                                      14,302.25
 02/18/2022   REGUS MANAGEMENT INVOICEPAY 192272INDEVA                                                260.00               14,042.25
 02/24/2022   HOME DEPOT ONLINE PMT    620678252243380                                                928.58               13,113.67
 02/28/2022   INTEREST PAYMENT                                                 2.72
 02/28/2022   INTEREST TRANSFER OUT                                                                     2.72               13,113.67
              NUMBER OF DEPOSITS/CHECKS PAID                                    1                         0


               GREAT NEWS!

               ON JANUARY 24, 2022, M&T BANK UPDATED THE FUNDS AVAILABILITY POLICY FOR
               COMMERCIAL DEPOSIT ACCOUNTS. THE NEW POLICY IS TO MAKE FUNDS THAT YOU DEPOSIT IN
               YOUR ACCOUNT AT M&T BANK AVAILABLE ON THE FIRST BUSINESS DAY AFTER THE DAY OF
               YOUR DEPOSIT, OR ON THE SAME DAY, DEPENDING UPON THE TYPE OF DEPOSIT. PLEASE
               READ OUR UPDATED AVAILABILITY DISCLOSURE FOR COMMERCIAL DEPOSIT ACCOUNTS AT
               MTB.COM/FUNDSUPGRADE.




                                                                                                                          PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 79 of 88
              Case 1:20-cv-03384-VEC-KHP                Document 192-20        Filed 10/13/22            Page 80 of 88



FOR INQUIRIES CALL:     SUTTON                                                                       ACCOUNT TYPE
                        (212) 888-9660
                                                                                                       IOLA NOW
                                                        00   0 00537M NM 017
                                                                                  ACCOUNT NUMBER                  STATEMENT PERIOD
                       000000                                                           9871733441                 03/01/22 - 03/31/22
                                                                N
                                                                               BEGINNING BALANCE                            $13,113.67
                       AARON ETRA, ESQ, ATTY.
                                                                               DEPOSITS & CREDITS                             4,079.37
                       IOLA ATTORNEY TRUST
                                                                               LESS CHECKS & DEBITS                          17,773.26
                       445 PARK AVE
                                                                               INTEREST                                            0.96
                       9TH FL
                                                                               LESS SERVICE CHARGES                                0.00
                       NEW YORK NY 10022
                                                                               ENDING BALANCE                                 ($579.26)




                                                                                              ANNUAL INTEREST RATE
                                                                                02/24/2022      - 03/27/2022                  0.25%
                                                                                03/28/2022      - 03/30/2022                  0.00%

INTEREST PAID YEAR TO DATE                         $10.73

                                                        ACCOUNT ACTIVITY
 POSTING                                                              DEPOSITS & OTHER       WITHDRAWALS &                 DAILY
                             TRANSACTION DESCRIPTION
  DATE                                                                   CREDITS (+)         OTHER DEBITS (-)             BALANCE
 03/01/2022   BEGINNING BALANCE                                                                                              $13,113.67
 03/02/2022   OUTGOING FEDWIRE FUNDS TRANSFER                                                         $7,350.00
              TUCKER MOORE GROUP LLP                                                                                           5,763.67
 03/03/2022   INCOMING FEDWIRE FUNDS TRANSFER                                  $150.00
              CHARLES NASTASI                                                                                                  5,913.67
 03/04/2022   CAPITAL ONE N.A. CAPITALONE 000010000000059                         0.06
 03/04/2022   CAPITAL ONE N.A. CAPITALONE 000010000000059                         0.06
 03/04/2022   AMEX EPAYMENT ACH PMT      W3224                                                         1,921.54                3,992.25
 03/07/2022   CAPITAL ONE N.A. CAPITALONE 000036143295458                                              3,000.00                  992.25
 03/16/2022   ACH DISPUTE CREDIT - Case 16935769                               3,000.00
 03/16/2022   INTEREST ADJUSTMENT CREDIT                                          0.03
 03/16/2022   ACH DISPUTE CREDIT - Case 16935771                                928.58
 03/16/2022   dispute case #16935767                                                                       0.06
 03/16/2022   dispute case #16935768                                                                       0.06                4,920.74
 03/21/2022   BANK OF AMERICA TRIALCREDT 575319646                                0.39
 03/21/2022   BANK OF AMERICA TRIALCREDT 575319648                                0.28
 03/21/2022   BANK OF AMERICA TRIALDEBIT 575319650                                                         0.67                4,920.74
 03/22/2022   FPB CR CARD INTERNET      WEB217650614                                                     400.00                4,520.74
 03/23/2022   AMEX EPAYMENT ACH PMT     M9254                                                          1,100.00                3,420.74
 03/25/2022   COUNTER WITHDRAWAL                                                                       1,000.00                2,420.74
 03/28/2022   BANK OF AMERICA ONLINE XFR 576786724                                                     3,000.00                 (579.26)
 03/31/2022   INTEREST PAYMENT                                                    0.93
 03/31/2022   INTEREST TRANSFER OUT                                                                        0.93                 (579.26)
              NUMBER OF DEPOSITS/CHECKS PAID                                        7                        0




                                                                                                                             PAGE 1 OF 3
                                         MANUFACTURERS AND TRADERS TRUST COMPANY
                                          350 PARK AVENUE NEW YORK, NEW YORK 10022
           Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22        Page 81 of 88



FOR INQUIRIES CALL:   SUTTON                                                                ACCOUNT TYPE
                      (212) 888-9660
                                                                                              IOLA NOW

                                                                            ACCOUNT NUMBER          STATEMENT PERIOD
                                                                               9871733441                03/01/22 - 03/31/22


                      AARON ETRA, ESQ, ATTY.
                      IOLA ATTORNEY TRUST




              GREAT NEWS!

              ON JANUARY 24, 2022, M&T BANK UPDATED THE FUNDS AVAILABILITY POLICY FOR
              COMMERCIAL DEPOSIT ACCOUNTS. THE NEW POLICY IS TO MAKE FUNDS THAT YOU DEPOSIT IN
              YOUR ACCOUNT AT M&T BANK AVAILABLE ON THE FIRST BUSINESS DAY AFTER THE DAY OF
              YOUR DEPOSIT, OR ON THE SAME DAY, DEPENDING UPON THE TYPE OF DEPOSIT. PLEASE
              READ OUR UPDATED AVAILABILITY DISCLOSURE FOR COMMERCIAL DEPOSIT ACCOUNTS AT
              MTB.COM/FUNDSUPGRADE.




                                                                                                                   PAGE 2 OF 3
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 82 of 88
              Case 1:20-cv-03384-VEC-KHP                  Document 192-20        Filed 10/13/22            Page 83 of 88



FOR INQUIRIES CALL:    SUTTON                                                                          ACCOUNT TYPE
                       (212) 888-9660
                                                                                                         IOLA NOW
                                                          00   0 00537M NM 017
                                                                                    ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                              9871733441                 04/01/22 - 04/30/22
                                                                  N
                                                                                 BEGINNING BALANCE                              ($579.26)
                      AARON ETRA, ESQ, ATTY.
                                                                                 DEPOSITS & CREDITS                             3,550.70
                      IOLA ATTORNEY TRUST
                                                                                 LESS CHECKS & DEBITS                             769.28
                      445 PARK AVE
                                                                                 INTEREST                                            0.65
                      9TH FL
                                                                                 LESS SERVICE CHARGES                                0.00
                      NEW YORK NY 10022
                                                                                 ENDING BALANCE                                $2,202.81




                                                                                                ANNUAL INTEREST RATE
                                                                                  03/22/2022       -    04/30/2022              0.25%

INTEREST PAID YEAR TO DATE                           $11.38

                                                          ACCOUNT ACTIVITY
 POSTING                                                                DEPOSITS & OTHER       WITHDRAWALS &                 DAILY
                            TRANSACTION DESCRIPTION
  DATE                                                                     CREDITS (+)         OTHER DEBITS (-)             BALANCE
 04/01/2022   BEGINNING BALANCE                                                                                                  ($579.26)
 04/04/2022   INTEREST ADJUSTMENT CREDIT                                           $0.01
 04/04/2022   ACH DISPUTE CREDIT - Case 16979657                                  400.00                                          (179.25)
 04/06/2022   INCOMING CHIPS FUNDS TRANSFER                                       150.00
              DIZA MARINE SERVICES AND SURVEYS                                                                                     (29.25)
 04/08/2022   IOLA Adj-9871733441                                                                           $0.01                  (29.26)
 04/13/2022   INTEREST ADJUSTMENT CREDIT                                             0.07
 04/13/2022   ACH DISPUTE CREDIT - Case 16973498                                 3,000.00                                        2,970.81
 04/18/2022   USAA FSB TRIALCREDT       4822550461                                  0.43
 04/18/2022   USAA FSB TRIALCREDT       4822550463                                  0.27
 04/18/2022   USAA FSB TRIALDEBIT  4822550465                                                                0.70
 04/18/2022   REGUS MANAGEMENT INVOICEPAY 192272INDEVA                                                     268.00                2,702.81
 04/29/2022   INTEREST PAYMENT                                                      0.57
 04/29/2022   CommerceWest AUTO TFR                                                                        500.00
 04/29/2022   INTEREST TRANSFER OUT                                                                          0.57                2,202.81
              NUMBER OF DEPOSITS/CHECKS PAID                                          5                        0




                                                                                                                               PAGE 1 OF 2
                                         MANUFACTURERS AND TRADERS TRUST COMPANY
                                          350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 84 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22           Page 85 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                  STATEMENT PERIOD
                      000000                                                        9871733441                 05/01/22 - 05/31/22
                                                             N
                                                                            BEGINNING BALANCE                            $2,202.81
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                                0.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                          1,260.38
                      445 PARK AVE
                                                                            INTEREST                                           0.38
                      9TH FL
                                                                            LESS SERVICE CHARGES                               0.00
                      NEW YORK NY 10022
                                                                            ENDING BALANCE                                 $942.81




                                                                                          ANNUAL INTEREST RATE
                                                                            04/30/2022       -    05/31/2022              0.25%

INTEREST PAID YEAR TO DATE                     $11.76

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER      WITHDRAWALS &                 DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)        OTHER DEBITS (-)             BALANCE
 05/01/2022   BEGINNING BALANCE                                                                                           $2,202.81
 05/18/2022   REGUS MANAGEMENT INVOICEPAY 192272INDEVA                                             $260.00                 1,942.81
 05/23/2022   COUNTER WITHDRAWAL                                                                   1,000.00                  942.81
 05/31/2022   INTEREST PAYMENT                                               $0.38
 05/31/2022   INTEREST TRANSFER OUT                                                                    0.38                  942.81
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                        0




                                                                                                                         PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 86 of 88
              Case 1:20-cv-03384-VEC-KHP             Document 192-20        Filed 10/13/22          Page 87 of 88



FOR INQUIRIES CALL:   SUTTON                                                                     ACCOUNT TYPE
                      (212) 888-9660
                                                                                                   IOLA NOW
                                                     00   0 00537M NM 017
                                                                              ACCOUNT NUMBER                 STATEMENT PERIOD
                      000000                                                        9871733441                06/01/22 - 06/30/22
                                                             N
                                                                            BEGINNING BALANCE                             $942.81
                      AARON ETRA, ESQ, ATTY.
                                                                            DEPOSITS & CREDITS                               0.00
                      IOLA ATTORNEY TRUST
                                                                            LESS CHECKS & DEBITS                           942.98
                      445 PARK AVE
                                                                            INTEREST                                          0.17
                      9TH FL
                                                                            LESS SERVICE CHARGES                              0.00
                      NEW YORK NY 10022
                                                                            ENDING BALANCE                                  $0.00




                                                                                          ANNUAL INTEREST RATE
                                                                            05/31/2022      - 06/29/2022                 0.25%
                                                                            06/30/2022      - 06/29/2022                 0.00%

INTEREST PAID YEAR TO DATE                     $11.93

                                                     ACCOUNT ACTIVITY
 POSTING                                                           DEPOSITS & OTHER      WITHDRAWALS &                DAILY
                           TRANSACTION DESCRIPTION
  DATE                                                                CREDITS (+)        OTHER DEBITS (-)            BALANCE
 06/01/2022   BEGINNING BALANCE                                                                                            $942.81
 06/17/2022   REGUS MANAGEMENT INVOICEPAY 192272INDEVA                                             $272.07                  670.74
 06/30/2022   INTEREST PAYMENT                                               $0.17
 06/30/2022   COUNTER WITHDRAWAL                                                                    670.74
 06/30/2022   INTEREST TRANSFER OUT                                                                   0.17                    0.00
              NUMBER OF DEPOSITS/CHECKS PAID                                    0                       0




                                                                                                                        PAGE 1 OF 2
                                       MANUFACTURERS AND TRADERS TRUST COMPANY
                                        350 PARK AVENUE NEW YORK, NEW YORK 10022
Case 1:20-cv-03384-VEC-KHP   Document 192-20   Filed 10/13/22   Page 88 of 88
